                  Case 3:16-xr-91005-MAG
DOCUMENTS UNDER SEAL
                                                      Document
                                                     Clear Form 2          Filed 10/03/16 Page 21 of 1
                                                                             TOTAL TIME (m ins):
M AGISTRATE JUDGE                          DEPUTY CLERK                              REPORTER/FTR
M INUTE ORDER                             Stephen Ybarra                            10:24 - 10:26
MAGISTRATE JUDGE                           DATE                                      NEW CASE         CASE NUMBER
Nandor J. Vadas                           October 3, 2016                                             16-xr-91005 MAG
                                                       APPEARANCES
DEFENDANT                                  AGE       CUST  P/NP   ATTORNEY FOR DEFENDANT                     PD.     RET.
Gary Hirst                                                   NP      n/a                                     APPT.
U.S. ATTORNEY                              INTERPRETER                             FIN. AFFT              COUNSEL APPT'D
Kevin Barry                                n/a                                     SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER               DEF ELIGIBLE FOR               PARTIAL PAYMENT
                             n/a                                     APPT'D COUNSEL                 OF CJA FEES
                                         PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR               PRELIM HRG       MOTION           JUGM'T & SENTG                           STATUS
                                                                                                               TRIAL SET
       I.D. COUNSEL                 ARRAIGNMENT             BOND HEARING            IA REV PROB. or            OTHER
                                                                                    or S/R                    Bond Signing
       DETENTION HRG                ID / REMOV HRG          CHANGE PLEA             PROB. REVOC.               ATTY APPT
                                                                                                               HEARING
                                                     INITIAL APPEARANCE
        ADVISED                    ADVISED                NAME AS CHARGED              TRUE NAME:
        OF RIGHTS                  OF CHARGES             IS TRUE NAME
                                                       ARRAIGNM ENT
       ARRAIGNED ON                 ARRAIGNED ON             READING W AIVED               W AIVER OF INDICTMENT FILED
       INFORMATION                  INDICTMENT               SUBSTANCE
                                                         RELEASE
      RELEASED            ISSUED                     AMT OF SECURITY          SPECIAL NOTES               PASSPORT
      ON O/R              APPEARANCE BOND            $                                                    SURRENDERED
                                                                                                          DATE:
PROPERTY TO BE POSTED                            CORPORATE SECURITY                      REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                   DETAINED      RELEASED          DETENTION HEARING               REMANDED
      FOR             SERVICES                                                   AND FORMAL FINDINGS             TO CUSTODY
      DETENTION       REPORT                                                     W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                             PLEA
    CONSENT                        NOT GUILTY               GUILTY                    GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                    CHANGE OF PLEA           PLEA AGREEMENT            OTHER:
    REPORT ORDERED                                          FILED
                                                       CONTINUANCE
TO:                                ATTY APPT              BOND                     STATUS RE:
                                   HEARING                HEARING                  CONSENT                   TRIAL SET

AT:                                SUBMIT FINAN.            PRELIMINARY            CHANGE OF                 STATUS
                                   AFFIDAVIT                HEARING                PLEA
                                                            _____________
BEFORE HON.                        DETENTION                ARRAIGNMENT             MOTIONS                  JUDGMENT &
                                   HEARING                                                                   SENTENCING

       TIME W AIVED                TIME EXCLUDABLE          IDENTITY /             PRETRIAL                  PROB/SUP REV.
                                   UNDER 18 § USC           REMOVAL                CONFERENCE                HEARING
                                   3161                     HEARING
                                                 ADDITIONAL PROCEEDINGS
The defendant's son Robert Hirst is present for the purpose of signing the appearance bond issued out of the Southern District
of New York. Robert Hirst is admonished of his rights and responsibilities as surety. Robert Hirst signs the bond in open court.
(See separate Bond.)
                                                                                         DOCUMENT NUMBER:
